      Case: 1:19-cv-06386 Document #: 29 Filed: 11/11/19 Page 1 of 3 PageID #:10937




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 FRIDA KAHLO CORPORATION,

          Plaintiff,                                         Case No.: 1:19-cv-06386

 v.                                                          Judge Charles P. Kocoras

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Sidney I. Schenkier
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 120                                       chiptoday
                  59                                           cyjie
                  60                                        dfgrucds
                  61                                  dingshuangping
                  62                                         doondo
                 132                                 fangluluqijiandian
                 121                                      fly air bird
                  43                                      FlyingGirls
                  64                                   glingling11365
                  65                                       go hiking
                 122                                    good nice girl
                 444                                   grain we come
                 457                                  hetingtingshoes
                 138                                HomelightingofQuyue
                  66                                        huguixia
                 133                                           Hyeq
                 134                                           liek2
                 497                                         lihuan1
                  67                                        likegood
                  56                                     liminghuiyo
Case: 1:19-cv-06386 Document #: 29 Filed: 11/11/19 Page 2 of 3 PageID #:10937




          68                                    Lopewa
         123                                 love to you
         124                                Lower water
         125                                     marilo
          57                                     Ohwu
         135                                   Once go
         136                                     OPPA
          69                           QINCAIYANLIHUAN
         126                         Sex girl TechnologyCo.Ltd
          58                          shenzhen blue go blue Lt
         139                            shenzhen goalex Ltd
          70                           shenzhen happyer Ltd
         127                  ShenZhen Winsword Technology Company
         128                                     smoar
         129                                    solahair
          71                                 sufengstore
          72                                 wumengcha
          73                                  yuihehhiii
          74                                     zmfcw
         633                  YiWu Children's Ornaments Craft Company
         115                             fangfangyuanyuan
         454                                    Happy3
         116                                      free1
         402                         Classical painting Art Print
         207                                  llq666777
         375                                  Adui shop
         208                                llq88889999
         567                                sthinterest2u
         462                             Huairong Co., Ltd
         625                                  xueshiwei
         458                              HK HongSheng
         501                                   lindasen
         1020                               For L and Yu
         182                                     Gaiya
         729                               HLPPC Decor
         859                               UOOPOO-US
         157                                 wangzhixia
         148                                   J J Style
         147                             Fashion New Style
         154                               Susu shopping
         156                                     Uxstar
         159                               xinyuliusanjie
         145                                Bing Fashion
         146                                EE Shopping
   Case: 1:19-cv-06386 Document #: 29 Filed: 11/11/19 Page 3 of 3 PageID #:10937




               150                                  Martial spiritPCX
               149                                      L L CC D
               144                                     baihuaqifan
               152                                     naiyoukong
               155                           Tree Leaf Daily Necessities Store
               151                                  Mens Underwear
               161                                       YShdyi
               973                                      iking2016
               343                                     thefair-trade


DATED: November 8, 2019                              Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 8, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
